Case 2:03-cv-02869-.]DB-dkv Document 38 Filed 07/08/05 Page 1 of 5 PagetD 48
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wEsTERN DISTRICT oF TENNESSEE 05 JUL "8 PH ‘*’ 03
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AARON MALONE» tth of itt z...z:§-_"~,tt~ils
Plaintiff,

v. Case No. 03-2869-BV
STATE OF TENNESSEE,

TENNESSEE I)EPARTMENT OF
CORRECTION, BRUCE WESTBROOKS,
in his individual capacity, and JAMES M.
DUKES, in his individual capacity,

`\-/\-¢\_/“~_/\,/WV\-/\-/V\-/\_¢\.i

Defendants.

 

ORDER GRANTING DEFENDAN'I`S’ MOTION TO
MODIFY CURRENT SCHEDULING ORDER DATES FOR EXPERT DISCLOSURES,
COMPLETION OF DISCOVERY, AND FILING OF DISPOSITIVE MOTIONS

 

lt appearing to the Court that good cause is shown, that Plaintiff’s counsel does not oppose
the Motion, and that the Defendants’ Motion to Modify Current Scheduling Order Dates for Expert
Disclosures, Cornpletion of Discovery, and Filing ofDispositive Motions should be granted,

IT IS THEREFORE ORDERED that the current Scheduling Order be modified as follows:
the currently scheduled dates for (a) Defendants’ Rule 26 Expert Witness Disclosures, (b) Completion
of all Discovery, including Doeument Production, Depositions, lnterrogatories, Requests for
Adrnissions, and Expert Witness Depositions; and (c) Filing of Dispositive Motions, are hereby
extended, resulting in the following new dates: (a) Defendants’ Rule 26 Expert Witness Diselosures

due on or before August 4, 2005; (b) Completion of all Discovery, including Document Production,

hl` This document entered on the docket sheet ln compliance
with ama 53 and/or 79(3) r-RCP on ' //“O

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Depositions, .Interrogatories, Requests for Admissions, and Expert Witness Depositions, due on or
before August 31, 2005; and (c) Filing of Dispositive Motions, Within one (l) month of the close of

discovery, by September 30, 2005.

 

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HONORABLE DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

DATE:Y>"/’AU¢ 37/ 2005

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Respectfully submitted,

PAUL G. SUMMERS

Attol°ney Gen?land§eporter

WM/

"i<enneth E. Dourhat BPR NO'. 10423

Assistant Attorney General

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Attorneys for Defendants.

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CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing Proposed Order Granting
Defendants’ Motion to Modify Current Scheduling Order Dates For Expert Disclosures,
Completion of Discovery, and Filing of Dispositive Motions Scheduling has been served, by
placing the same in the U.S. mail, first class, postage prepaid, addressed to the following:

James E. King, Jr., Esq.
ESKINS, KlNG & SEVIER, PC
50 North Front Street
Suite 770
Memphis, Tennessee 381 03

{/@M é a¢/

enneth E. Douthat
Assistant Attorney General

this, the Ist day of July, 2005.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:03-CV-02869 Was distributed by faX, mail, or direct printing on
.luly 11, 2005 to the parties listedl

 

Kermeth E. Douthat

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Honorable .l. Breen
US DISTRICT COURT

